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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                 :      Hon. Esther Salas, U.S.D.J.

             v.                                 Criminal No. 15-400

TONY MARCO                               :      CONSENT ORDER


      THIS MATTER having come before the Court on the joint application of

Paul J. Fishman, United States Attorney for the District of New Jersey (Sara F.

Merin, Assistant U.S. Attorney, appearing), and defendant Tony Marco (Patrick

N. McMahon, Esq., appearing), for an Order revising the conditions of

Defendant’s pretrial release; and the Court having ordered on September 18,

2015, that Defendant be subject to home incarceration, enter a detoxification

facility, and then reside in a halfway house; and Pretrial Services having

represented that Defendant completed detoxification and is presently residing

at a halfway house; and Pretrial Services having further represented that an

alteration in location monitoring conditions to Home Detention with electronic

monitoring is necessary to permit Defendant to fully comply with the rules of

the halfway house, which include obligations that participants look for work

and go to addiction-related meetings; and all parties having consented to entry

of this Order; and for good and sufficient cause shown,
                                   j I             4’wiLc-
      WHEREFORE, it is on this I’            day of Getobcr, 2015,

      ORDERED that the condition of home incarceration is withdrawn; and it

is further

      ORDERED that Defendant shall be and hereby is subject to Home
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Detention, with electronic monitoring, restricted to the residence with

exceptions for the following: employment; education; religious services;

medical, substance abuse, or mental health treatment; attorney visits; court

appearances; or other activities as pre-approved by the Pretrial Services; and it

is further

      ORDERED that Defendant shall pay all or part of the cost of the

monitoring, based on ability to pay as determined by Pretrial Services; and it is

further

      ORDERED that all conditions of Defendant’s release not addressed

herein shall remain in full force and effect.
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                                                6NORABLE%, ERSALAS
                                                United State
                                                       IDis&ict Judge
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Consented to by:



Patrick N. McMahon, Esq.
Counsel to Defendant Tony Marco




Assistan Unite     States Attorney




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